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  October 1, 2021
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                         AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Claudia Velez, being first duly sworn, hereby depose and state as follows:

1.     I am employed as a Special Agent with the United States Department of Homeland

Security, Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations (“HSI”),

Fort Lauderdale, Florida, and have been so employed since November 2008. I am currently

assigned to the Major Crimes Group, where I am responsible for investigating matters within the

jurisdiction of the United States Department of Homeland Security, including violations of the

immigration and customs laws of the United States. I am thus a “federal law enforcement officer”

within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C). I have completed the

Criminal Investigator Training Program at Federal Law Enforcement Training Centers in Glynco, GA.

These academics consisted of comprehensive training in multiple disciplines including proper

investigative techniques and the application and execution of search, arrest, and seizure warrants

for violations of federal laws, including but not limited to violations of the Immigration and

Nationality Act (the “ACT”).

2.     The statements contained in this affidavit are based upon my own personal knowledge

gathered during my participation in this investigation, my previous training and experience, other

law enforcement officers and agents, and upon facts and information from the following sources I

believe to be reliable: oral and written reports pertaining to this investigation which I received from

Hillsboro Police Department, Broward County Sheriff’s Office (“BSO”) Deputies, and United States

Border Patrol (“USBP”). Because this affidavit is being submitted for the limited purpose of

securing the testimony of material witnesses, I have not included each fact known to me or law

enforcement in the investigation. I have set forth only the facts that I believe are necessary to

establish probable cause that the testimony of witnesses VICTOR ALFONSO ARANGO, DEYVIS NOE

HERRERA-PEREZ, JULIO CESAR TORRES CATALA, and JOSE MIGUEL GOMEZ DIAZ is material to the

prosecution of DELON KNOWLES (“KNOWLES”) who has been charged by way of a criminal
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complaint with knowingly and willfully encouraging and inducing an alien to come to, enter, and

reside in the United States, knowing and in reckless disregard of the fact that such coming to,

entry, and residence is and will be a violation of the law, in violation of Title 8, United States Code,

Sections 1324(a)(1)(A)(iv) and (v)(II).

                                          PROBABLE CAUSE

3.     On or about September 29, 2021, at approximately 12:43 PM, Homeland Security

Investigations (“HSI”) was notified about a smuggling of migrants involving a 1988 25’ Hydra

Sport vessel with two (2) outboard engines. The 25’ Hydra Sport vessel docked at a pier at

Hillsboro Inlet in Broward County, Florida.      Several individuals were seen fleeing.       With the

assistance of multiple agencies, 15 migrants were located and detained.               The vessel was

searched and no life vests, food, or fishing equipment were found. Multiple witnesses stated there

was water and energy drinks on board.

4.     The fifteen (15) suspected migrants were subsequently transported to the USBP Dania

Beach Station for processing. At the USBP Dania Beach Station, the fifteen (15) suspected

migrants were processed using biometrics (personal identifying information, criminal history, and

immigration status) to confirm their identity and nationality. The results of those queries revealed

that all fifteen (15) of the individuals were foreign nationals (two (2) from Haiti, one (1) from the

Dominican Republic, eight (8) from Cuba, one (1) from the Bahamas, and three (3) from

Colombia) who did not possess the proper documentation or authorization to enter, pass through,

or reside in the United States.

5.     Based upon interviews conducted of the migrants, KNOWLES was identified as the captain

or the operator of the 25’ Hydra Sport vessel from Bimini, Bahamas to the Hillsboro Inlet.

6.     Victor Alfonso ARANGO (“ARANGO”), country of birth Colombia, with no legal status in the

United States, stated he flew from Colombia to Panama to Nassau, Bahamas arriving on or about


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September 23, 2021. ARANGO paid $9,000 USD to a black male at Nassau to be smuggled into

the United States.    ARANGO traveled by boat from Nashua to Bimini arriving on or about

September 26, 2021 where ARANGO remained until departing for the United States.          ARANGO

departed from Bimini, Bahamas on September 29, 2021, at approximately 7:00 AM after the

captain directed ARANGO and the other persons to get into the vessel quickly. ARANGO stated

there were approximately 15 individuals aboard the vessel. ARANGO did not see any life jackets

on the vessel. When the vessel arrived at the United States, the captain told the passengers to

leave the boat two at a time. ARANGO saw the other passengers running from the police so he

also ran. ARANGO described the captain of the vessel as a black male with blonde dreds.

ARANGO was shown a 12-person photo array and positively identified KNOWLES as the captain of

the 25’ Hydra Sport vessel.

7.     Deyvis Noe HERRERA-PEREZ (“HERRERA-PEREZ”), country of birth Dominican Republic,

with no legal status in the United States, stated he departed from Bimini, Bahamas aboard the

25’ Hydra Sport vessel on September 29, 2021, at approximately 7:00 AM. HERRERA-PEREZ

described the individual that piloted the vessel as a black male with blonde hair dreads.

HERRERA-PEREZ was shown a 12-person photo array and positively identified KNOWLES as the

operator of the 25’ Hydra Sport.

8.     Julio Cesar TORRES-CATALA (“TORRES-CATALA”), country of birth Cuba, with no legal status

in the United States, stated he left Cuba on or about September 20, 2021 to travel to Nassau,

Bahamas with his ultimate destination being the United States. TORRES-CATALA said he did not

know how much his brother in Texas paid for his travel. After boarding the vessel and departing,

TORRES-CATALA observed a black male driving. TORRES-CATALA was shown a 12-person photo

array and positively identified KNOWLES as the operator of the 25’ Hydra Sport vessel.

9.     Jose Miguel GOMEZ-DIAZ (“GOMEZ-DIAZ”), country of birth Cuba, with no legal status in the

United States, stated he traveled by plane from Cuba to Nassau, Bahamas where he traveled by
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boat to Bimini. GOMEZ-DIAZ paid $5,000 USD to be smuggled to the United States to a black

male with braids in the Bahamas.      After departing Bimini, GOMEZ-DIAZ observed a black male

driving the 25’ Hydra Sport vessel. GOMEZ-DIAZ did not witness any money exchanged while on

the boat. GOMEZ-DIAZ was shown a 12-person photo array and positively identified KNOWLES as

the operator of the 25’ Hydra Sport vessel.

10.    On or about September 30, 2021 at approximately 11:51 AM, KNOWLES was verbally

read his Miranda Rights which he waived in writing. The interview was audio recorded. KNOWLES

stated that he was a passenger and paid $2,000 USD to be smuggled into the United States from

Bimini, Bahamas. KNOWLES said that the captain of the 25’ Hydra Sport vessel fled immediately

after docking at Hillsboro Inlet. KNOWLES advised that the captain took KNOWLES’ bookbag with

KNOWLES’ personal belongings. KNOWLES signed a form consenting to a search of his cellular

telephone. KNOWLES subsequently stated that he wanted to speak to an attorney and the

interview ended at approximately 12:33 PM.

11.    On or about September 30, 2021, at approximately 1:15 PM., KNOWLES requested to

speak to HSI agents again. An additional notation was written by an agent at the bottom of the

Miranda rights form previously signed by KNOWLES that says the following: “At 1:21 PM @ Dania

Border Patrol, requested to speak without an attorney present” KNOWLES signed the Miranda

rights waiver form a second time. KNOWLES advised that he was offered $5,000 USD to operate

the 25’ Hydra Sport vessel and transport the individuals from Bimini, Bahamas to the United

States. KNOWLES stated that he received a payment of $2,000 USD before departure from

Bimini, Bahamas with the balance of $3,000 USD to be paid after arriving in the United States.

KNOWLES was instructed to abandon the vessel upon arrival at the United States. KNOWLES

stated he was provided a GPS by a tall, light skin black male, with a faded haircut that was aboard

the vessel. KNOWLES was told by the unknown male to follow the directions shown on the GPS.

This unknown male went inside the cabin for the duration of the trip. As they neared their
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